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 7

 8                              IN THE UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10

11 UNITED STATES OF AMERICA,                           CASE NO. 2:11-CR-0190 MCE
12                               Plaintiff,            GOVERNMENT’S MOTION TO DISMISS
                                                       INDICTMENT AS TO MARCUS DAVIS AND
13                         v.                          ORDER
14 MARCUS DAVIS,

15                               Defendant.

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17         The United States of America, through its attorney of record, Assistant U.S. Attorney Jason Hitt,

18 hereby moves for an order dismissing the Indictment against defendant Marcus Davis in Case No. 2:11-

19 CR-0190 MCE pursuant to Federal Rule of Criminal Procedure 48(a).

20         The government brings this motion in the interests of justice because defendant Davis was

21 convicted of first degree murder in Sacramento County Superior Court. His projected parole date is July

22 2044. Accordingly, the United States respectfully moves to dismiss the Indictment against defendant

23 Davis in Case No. 2:11-CR-0190 MCE in the interests of justice pursuant to Rule 48(a).

24                                                   McGREGOR W. SCOTT
                                                     United States Attorney
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26   Dated: October 2, 2018                          /s/Jason Hitt________________
                                                     JASON HITT
27                                                   Assistant United States Attorney

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 1                                                   ORDER
 2         For the reasons set forth in the motion to dismiss the Indictment filed by the United States, it is
 3 hereby ordered that the Indictment in Case No. 2:11-CR-0190 MCE against defendant Marcus Davis is

 4 hereby DISMISSED pursuant to Federal Rule of Criminal Procedure 48(a) without prejudice.

 5         IT IS SO ORDERED.
 6 Dated: October 3, 2018

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